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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:06-CR-0066
                                           :
             v.                            :   (Judge Conner)
                                           :
CHARLES BENNETT                            :

                                       ORDER

      AND NOW, this 29th day of April, 2008, upon consideration of the motion

(Doc. 60) for sentence reduction pursuant to 18 U.S.C. § 3582(c)(2), filed by

defendant, and it appearing that defendant is presently represented by counsel (see

Doc. 62), and that counsel has filed a motion for sentence reduction (Doc. 66), it is

hereby ORDERED that the pro se motion for sentence reduction (Doc. 60) is

DENIED as moot.


                                            /s/ Christopher C. Conner
                                           CHRISTOPHER C. CONNER
                                           United States District Judge
